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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
UNITED STATES OF AMERICA CRIMINAL NO. 1:13-CR-091-3
JUDGE SANDRA S. BECKWITH
Plaintiff
vs. MOTION TO WITHDRAW AS

COUNSEL
GARY F. ANDERSON

Defendant

Pursuant to Rule 83.4 of the Local Rules of the United States District Court for the Southern

District of Ohio, the undersigned counsel hereby requests permission from the court to

withdraw as counsel of record for Defendant Gary F. Anderson. The reasons for this request are

that irreconcilable differences have arisen between Defendant Anderson and counsel and

Defendant has requested that counsel withdraw.

Wherefore, the undersigned counsel respectfully requests that this Honorable Court grant this

Motion to Withdraw as Counsel.

Michael K. Allen (0025214)

Counsel for Defendant Gary Anderson
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CERTIFICATION OF SERVICE

Thereby certify that a copy of the foregoing was served upon Assistant U.S. Attorney on the

same day it was filed.
JOLA_

Michael K. Allen (0025214)
Counsel for Defendant Gary Anderson

